                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

BRYCE CARRASCO,                                    *

         Plaintiff,                                *

v.                                                 *       Case No.: 1:21-CV-00532-SAG

M&T BANK,                                          *

         Defendant.                                *

*        *        *         *     *       *        *       *       *       *        *       *       *

                            DEFENDANT M&T BANK’S OPPOSITION TO
                            PLAINTIFF’S MOTION FOR OTHER RELIEF

         Defendant M&T Bank (“M&T”), through its undersigned counsel, opposes the Motion for

Other Relief (ECF No. 102), filed by Plaintiff Bryce Carrasco (“Plaintiff”) and, in support thereof,

states as follows:

         1.       Plaintiff’s Motion for Other Relief is merely a vessel to attach a series of emails

that Plaintiff sent to chambers during a twelve-hour period between September 8 and 9, 2021.

Plaintiff’s objective in filing this motion is “for the court to regard these [emails] as related to the

case[.]” See ECF No. 102.

         2.       Plaintiff seeks this relief notwithstanding the fact that prior to Plaintiff’s filing, this

Court informed the parties that these emails “will be disregarded.” See ECF No. 99 (Letter Order

dated September 9, 2021). Plaintiff’s Motion for Other Relief does not seek reconsideration of the

Court’s Letter Order but instead, simply ignores it. On this basis alone, this Court should deny the

Motion for Other Relief.

         3.       In response to this Court’s prior orders that it will “only consider items

appropriately docketed as a motion, opposition, or reply” (ECF No. 99), Plaintiff believes that




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attaching the same emails to a paper titled “motion” will magically make the emails properly

before this Court. Plaintiff is mistaken. The character of the emails have not changed and attaching

them to something called a “motion” does not make the emails “appropriately docketed.”

         4.       While the emails continue to wrongfully disparage and unfairly harass M&T and

its counsel, they appear to be submitted to bolster Plaintiff’s pending Motion for Summary

Judgment. Inasmuch as that motion is now fully briefed, this Court should deny the Motion for

Other Relief, and continue to disregard the attached emails. Plaintiff had ample opportunity to

brief summary judgment—indeed, he filed over 70 pages of memoranda—and his status as a pro

se litigant does not entitle him to any additional submissions nor should it allow him to populate

the record with ad hominem attacks against M&T and its counsel. See ECF No. 73 (“Any future

filings that contain ad hominem attacks about the opposing party or the opposing party’s counsel

or officers will be disregarded.”).

         5.       Not only should this Court deny Plaintiff’s Motion for Other Relief but it also

should instruct the Clerk’s office to mark ECF No. 102 as “filed in error” so that the attached

emails are not publicly accessible.

         WHEREFORE, Defendant M&T Bank respectfully requests that Plaintiff’s Motion for

Other Relief be denied and that the Clerk’s office be instructed to mark ECF No. 102 as “filed in

error.” A proposed Order is attached for the Court’s consideration.

                                              Respectfully submitted,
                                              /s/ Brian L. Moffet
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                                CERTIFICATE OF SERVICE

         I hereby certify that on September 20, 2021, I served a copy of the foregoing on the

following via ECF and via first class mail, postage prepaid:

                                            Bryce Carrasco
                                            334 Ternwing Drive
                                            Arnold, MD 21012


                                            /s/ Brian L. Moffet
                                            Brian L. Moffet (Fed Bar No. 13821)




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